


 
   *459
   
  PER CURIAM
 

  Defendant appeals a judgment of conviction for, among other things, two counts of first-degree burglary and two counts of felon in possession of a firearm. He raises three assignments of error on appeal: (1) the trial court erred in imposing consecutive sentences for the felon in possession convictions; (2) the trial court erred in entering two separate convictions on the felon in possession charges; and (3) the trial court erred in entering two separate convictions of first-degree burglary. We reject defendant’s first two assignments of error without discussion and write only to address defendant’s third assignment of error. As to that assignment, defendant contends that, under
  
   State v. White,
  
  341 Or 624, 147 P3d 313 (2006), the trial court committed plain error when it entered two separate burglary convictions based on the same incident and differing only with respect to the crime that defendant was alleged to have intended to commit in the burglarized building. The state concedes that the record in this case “supports a finding of only a single entry into the victim’s home” and that, under
  
   White,
  
  the trial court plainly erred in entering two separate burglary convictions. We agree, accept the state’s concession, and conclude that it is appropriate to exercise our discretion to correct the error.
  
   See State v. Sauceda,
  
  236 Or App 358, 239 P3d 996 (2010).
 

  Reversed and remanded with instructions to enter a single conviction for first-degree burglary, reflecting that defendant was convicted on multiple theories, and for resentencing; otherwise affirmed.
 
